 Case 4:21-cv-00813-SDJ Document 19 Filed 02/11/22 Page 1 of 3 PageID #: 99




                          UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TEXAS
                               SHERMAN DIVISION

KEVIN CERVENKA, Individually                   §
and on behalf of all others similarly          §
situated                                       §
                                               §
v.                                             § CIVIL NO. 4:21-CV-813-SDJ
                                               §
JUMP LOGISTICS, LLC, ET AL.                    §

                       PRELIMINARY SCHEDULING ORDER

       The Court, after reviewing the joint report of attorney conference required by
Federal Rule of Civil Procedure 26(f), enters this Preliminary Scheduling Order, which
will control the disposition of this action pending further order of the Court. The
following actions shall be completed by the dates indicated.1

                                        DEADLINES

 5/12/2022                         Deadline for Plaintiff to file motion under 29 U.S.C.
                                   § 216(b) for determination of whether putative
                                   members of the Fair Labor Standards Act (“FLSA”)
                                   collective are similarly situated to Plaintiff and for
                                   authorization to send notice of this action to such
                                   persons.

 6/2/2022                          Deadline for Defendants to file their response(s) to
                                   Plaintiff’s motion under 29 U.S.C. § 216(b).

 6/16/2022                         Deadline for Plaintiff to file any reply in support of
                                   his motion under 29 U.S.C. § 216(b).


      After the issues of whether the putative members of the FLSA collective are
similarly situated to Plaintiff and whether notice is authorized have been resolved,
the Court will enter a more comprehensive Scheduling Order, setting deadlines for
expert reports, dispositive motions, and trial.

      The Court will, as the Fifth Circuit has instructed regarding putative collective
actions brought under the FLSA, “rigorously scrutinize the realm of ‘similarly

       1 If a deadline falls on a Saturday, Sunday, or a legal holiday as defined in Fed. R. Civ.
P. 6, the effective date is the first federal court business day following the deadline imposed.

                                               1
 Case 4:21-cv-00813-SDJ Document 19 Filed 02/11/22 Page 2 of 3 PageID #: 100




situated’ workers . . . from the outset of the case,” as “[o]nly then can the district court
determine whether the requested opt-in notice will go to those who are actually
similar to the named plaintiff[].” Swales v. KLLM Transp. Servs., L.L.C., 985 F.3d
430, 434 (5th Cir. 2021). The Court further notes that it is “improper to ignore
evidence” of potentially dispositive threshold matters where such issues are
“intertwined with [] merits question[s],” as “addressing these issues from the outset
aids the district court in deciding whether notice is necessary.” Id. at 441–42.

                               SCOPE OF DISCOVERY

       Modification. Pending the Court’s decision concerning Plaintiff’s anticipated
motion under 29 U.S.C. § 216(b), discovery in this case shall be limited to issues
directly relevant to the Section 216(b) motion, such as the number of proposed
collective group members, their job descriptions and procedures, and wage and hour
policies and training provided. Broad discovery into the merits of the claims at issue,
rather than focused exclusively on issues related to the Court’s resolution of
Plaintiff’s anticipated Section 216(b) motion, is premature and improper at this time.

      Electronic Discovery. Electronically stored information will be produced in a
paginated version as a PDF and/or TIFF images, unless the parties agree otherwise.

                               DISCOVERY DISPUTES

       In the event the parties encounter a discovery dispute, no motions to compel
may be filed until after the parties fulfill the “meet and confer” requirement imposed
by this Court’s Local Rule CV-7(h). If the parties are unable to resolve the dispute
without court intervention, the parties must then call the Court’s chambers to
schedule a telephone conference regarding the subject matter of the dispute prior to
filing any motion to compel. After reviewing the dispute, the Court will resolve the
dispute, order the parties to file an appropriate motion, or direct the parties to call
the discovery hotline.

      A magistrate judge is available during business hours to immediately hear
discovery disputes and to enforce provisions of the rules. The hotline number is (903)
590-1198. See Local Rule CV-26(e).

                                     RESOURCES

      The Eastern District of Texas website (http://www.txed.uscourts.gov) contains
information about electronic filing, which is mandatory, Local Rules, telephone
numbers, general orders, frequently requested cases, the Eastern District fee
schedule, and other information. The electronic filing HelpLine is 1-866-251-7534.




                                             2
 Case 4:21-cv-00813-SDJ Document 19 Filed 02/11/22 Page 3 of 3 PageID #: 101




                                   COMPLIANCE

       A party is not excused from the requirements of this scheduling order because
dispositive motions are pending, the party has not completed its investigation, the
party challenges the sufficiency of the opposing party’s disclosure or because another
party has failed to comply with this order or the rules.

       Failure to comply with relevant provisions of the Local Rules, the Federal
Rules of Civil Procedure or this order may result in the exclusion of evidence at trial,
the imposition of sanctions by the Court, or both. If a fellow member of the Bar makes
a just request for cooperation or seeks scheduling accommodation, a lawyer will not
arbitrarily or unreasonably withhold consent. However, the Court is not bound to
accept agreements of counsel to extend deadlines imposed by rule or court order. See
Local Rule AT-3(j).
     .
                                 OTHER MATTERS

   1. Please note the amendments to the Local Rules regarding motion practice. If
      a document filed electronically exceeds ten pages in length, including
      attachments, a paper copy of the filed document must be sent
      contemporaneously to the undersigned’s chambers in Plano. See Local Rule
      CV-5(a)(9). Courtesy copies over twenty pages long should be bound to the left,
      and voluminous exhibits should be separated by dividers.

   2. Any reply or sur-reply must be filed in accordance with Local Rule CV-6 and
      Local Rule CV-7(f). The parties are reminded that “[t]he court need not wait
      for the reply or sur-reply before ruling on the motion.” Local Rule CV-7(f)
      (emphasis added).

         So ORDERED and SIGNED this 11th day of February, 2022.




                                                     ____________________________________
                                                     SEAN D. JORDAN
                                                     UNITED STATES DISTRICT JUDGE




                                           3
